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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


United States of America,                            Case. No. 11-CR-369-09 (PAM/FLN)

                            Plaintiff,

v.                                                                              ORDER


Frederick Adrianne Hamilton.

                            Defendant.



      This matter is before the Court on Frederick Adrianne Hamilton’s Motion to

Reduce Sentence pursuant to 18 U.S.C. § 3585. For the following reasons, the Motion is

denied.

      On January 19, 2012, the United States indicted Hamilton on federal bank-fraud

charges. At that time, Hamilton was in state custody for violating his supervised release

after he had served 90 months of a 144-month sentence for soliciting, inducing, and

promoting prostitution. On January 20, 2012, the United States Marshals Service took

Hamilton into federal custody.

      Because Hamilton was in federal custody beginning January 20, 2012, Hamilton

was unavailable for his Minnesota Department of Correction’s release-consideration

hearing on February 8, 2012. Consequently, the rest of Hamilton’s 144-month state

sentence continued to run while he was in federal custody and eventually expired on

January 3, 2013.
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       On September 6, 2012, a jury convicted Hamilton of one count of conspiring to

commit bank fraud and two counts of aiding and abetting bank fraud. On July 22, 2013,

the Court sentenced Hamilton to concurrent terms of 57 months imprisonment on each of

the counts. Because Hamilton was in federal custody at that time, his federal sentence

began the day the Court sentenced him. See 18 U.S.C. 3585(a). In addition, Hamilton

received credit for his time served in federal custody from January 4, 2013 until July 21,

2013. (Woods-Coleman Decl. (Docket No. 1115) Ex. G.); see also 18 U.S.C. 3585(b).

       Hamilton claims his sentence should be reduced for two reasons. First, Hamilton

claims that he should receive credit for time served in federal custody from February 8,

2012, to July 3, 2013, because he “could have” been released from state custody on

February 8, 2012. (Deft.’s Obj. to Gov. Resp. (Docket No. 1121) at 2.) But because

Hamilton was unavailable for review and release consideration by the Minnesota

Department of Corrections on February 8, 2012, he was never released from state

custody.   (See Deft.’s Mot. (Docket No. 1106) Ex. 3.)         In other words, Hamilton

continued to serve his state sentence, even though he was physically in federal custody,

until it expired on January 3, 2013. Because Hamilton received credit towards his state

sentence during that time period, he does not receive credit towards his federal sentence.

See 18 U.S.C. 3585(b) (“A defendant shall be given credit toward the service of a term of

imprisonment for any time he has spent in official detention prior to the date the sentence

commences . . . that has not been credited against another sentence.”)




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      Second, Hamilton claims that the Federal Bureau of Prisons has not credited him

time served in federal custody between January 4, 2013 and July 21, 2013. (Deft.’s Obj.

to Gov. Resp. (Docket No. 1121) at 3.) This is simply not true. Hamilton has received

credit for that time served. (See Woods-Coleman Decl. Ex. G.)

      Accordingly, IT IS HEREBY ORDERED that Defendant’s Motion to Reduce

Sentence (Docket No. 1106) is DENIED.



Dated: September 12, 2016
                                        s/ Paul A. Magnuson
                                        Paul A. Magnuson
                                        United States District Court Judge




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